      Case 1:10-cv-00259-AWI-JLT Document 19 Filed 12/02/10 Page 1 of 2


 1
 2
 3
 4
 5
 6
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   LISA COBLE,                            )                CASE NO. 1:10-cv-00259 AWI JLT
                                            )
12               Plaintiff,                 )
                                            )                ORDER VACATING CONTINUING MID-
13         v.                               )                DISCOVERY STATUS CONFERENCE;
                                            )                ORDER REQUIRING PARTIES TO FILE
14   MARK DEROSIA, et. al,                  )                STATUS REPORTS
                                            )
15               Defendants.                )                (Doc. 18)
     ______________________________________ )
16
17
18          At the time of the mid-discovery status conference held on November 8, 2010, Plaintiff’s
19   attorney, Mr. Rumpf, reported that it had been discovered that Plaintiff had declared bankruptcy but that
20   this litigation was not listed as an asset of the estate. Mr. Rumpf reported further that he was in the
21   process of learning the ramifications of this failure from Plaintiff’s bankruptcy attorney.
22          Now the parties have reported that Plaintiff’s bankruptcy action was discharged in May 2009 but
23   that Plaintiff’s bankruptcy attorney would be taking steps to determine whether that action could be
24   reopened in order to address this litigation as an asset retained by Plaintiff. (Doc. 18) Defendants have
25   indicated that they will seek dismissal of this action due to Plaintiff’s failure to retain “ownership” of
26   the litigation in the bankruptcy proceeding. Id.
27          Based upon the foregoing, the Court ORDERS,
28          1.      The mid-discovery status conference scheduled for December 8, 2010 is continued to

                                                         1
      Case 1:10-cv-00259-AWI-JLT Document 19 Filed 12/02/10 Page 2 of 2


 1               February 9, 2011 at 8:30 a.m. at 1200 Truxtun Avenue, Suite 120, Bakersfield, CA.
 2               Telephonic appearances are permitted if the parties notify the Court, by sending an e-mail
 3               to jltorders@caed.uscourts.gov one week before the hearing that they will appear by
 4               telephone. The parties are ORDERED to file a joint, mid-discovery status report at least
 5               one week in advance of the hearing;
 6         2.    No later than January 4, 2011, the parties are ORDERED to file a report outlining the
 7               status of the bankruptcy proceeding and the parties’ positions relative to it.
 8         3.    The parties are ORDERED to file a status report whenever it appears that a stay of this
 9               action is needed or if it is determined that Plaintiff cannot proceed in this litigation.
10
11   IT IS SO ORDERED.
12   Dated: December 2, 2010                                      /s/ Jennifer L. Thurston
     9j7khi                                                  UNITED STATES MAGISTRATE JUDGE
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                      2
